                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                                      Case No. 1:20-CR-512


UNITED STATES OF AMERICA
                                                         MOTION TO EXTEND
    v.                                               PRETRIAL MOTIONS DEADLINE
                                                    AND CONTINUE TRIAL WITHOUT
BRADLEY CARL REIFLER                              OBJECTION FROM THE GOVERNMENT



          The Defendant, Bradley C. Reifler, through undersigned counsel, without objection from

the government and the express written consent of Mr. Reifler (Attachment 1), moves this

Honorable Court to extend the deadline for filing pretrial motions to August 6, 2021, and to

continue the trial of this matter to December 6, 2021.

          This motion is made pursuant to the Fifth and Sixth Amendments and 18 U.S.C. §

3161(a)(7)(B). For the reasons that follow, Mr. Reifler respectfully submits that the ends of

justice served by granting the requested continuance and extension would outweigh the best

interests of the defendant and the public in a more prompt resolution of this unusually complex

matter.

                                        BACKGROUND

          1.     On December 1, 2020, a grand jury empaneled in the Middle District of North

Carolina returned a five-count, 52-paragraph indictment against Mr. Reifler, which alleges a

multi-year scheme to defraud that involves the complexities of the North Carolina General

Statutes’ laws and the related North Carolina Department of Insurance’s regulations regarding

eligible investments for the purpose of investing insurance company reserve funds, as well as a




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single perjury count stemming from an ongoing civil matter that has been litigated for nearly five

years and includes no fewer than 245 docket entries.

       2.      On Friday, April 9, 2021, undersigned counsel received an initial production of

discovery that includes 1.96 million pages of documents.

       3.      The government has informed undersigned counsel that additional documents will

be produced in the future.

       4.      Counsel for the parties are also engaged in ongoing discussions regarding the

propriety of, and the processes used by, a DOJ Filter Team that has been conducting a privilege

review of documents seized in this case in light of the Fourth Circuit’s recent opinion In re:

Search Warrant Issued June 13, 2019, 942 F.3d 159, 176 (4th Cir. 2019) (holding, inter alia, that

conducting privilege review is a judicial function that cannot be delegated to the executive

branch). The parties hope that these discussions will obviate the need for court involvement on

this issue. The Filter Team’s review will also lead to additional discovery productions, will also

likely require counsel for Mr. Reifler to conduct a privilege review of a large volume of

potentially privileged material and the resulting production of a privilege log, and may (but

hopefully will not) involve challenges by the government of privileges assertions by Mr. Reifler.

       5.      Mr. Reifler’s arraignment was held on April 5, 2021, via telephone, with the

written consent of Mr. Reifler. See Waiver of Appearance at Arraignment Form [Dkt. # 8];

Minute Entry of Arraignment, April 5, 2021.

       6.      At arraignment, counsel for Mr. Reifler made an oral motion without objection

from the government to continue the trial and to extend the deadline for filings pretrial motions

in this matter for the same dates requested in this instant written motion, and the court instructed




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undersigned counsel to file a written motion to continue. See Minute Entry of Arraignment,

April 5, 2021.

       7.        Mr. Reifler now renews his Motion to Continue the Trial and to Extend the

Pretrial Motions without objection from the Government.

                                          DISCUSSION

       The requested continuance is supported by 18 U.S.C. § 3161(a)(7)(A) & (B) and the Fifth

and Sixth Amendments because the case against Mr. Reifler appears to be unusual and complex

due to the nature of the prosecution, because the requested continuance would avoid denying the

defendant choice and continuity of counsel, and because a continuance is otherwise necessary to

ensure time for counsel for Mr. Reifler to adequately prepare for pretrial proceedings and the

trial of this matter. See 18 U.S.C. § 3161(a)(7)(B)(ii) (noting complexity of prosecution and

adequate preparation as bases for finding that requested continuance is in the interest of justice);

§ 3161(a)(7)(B)(iv) (noting that continuances are appropriate where necessary to avoid

“deny[ing] the defendant or the Government continuity of counsel” and/or reasonable time for

effective preparation). The case will also likely involve “the existence of novel questions of fact

[and] law,” which further supports finding that the interests of justice are best served by granting

the requested continuance. See § 3161(a)(7)(B)(ii).

       The 52-paragraph indictment alleges a scheme to defraud involving intricacies of North

Carolina’s insurance regulations, see Indictment at ¶ 15, and relates to an ongoing civil dispute in

which Mr. Reifler was largely representing himself pro se and which contains a voluminous

record. The government has provided a massive discovery production of 1.96 million pages of

documents, with more to come, and the government’s discovery process includes the

involvement of a Filter Team, which counsel for Mr. Reifler immediately informed the




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government upon learning of its existence may create problems in light of In re: Search Warrant

Issued June 13, 2019, 942 F.3d 159, 176 (4th Cir. 2019) (holding that conducting privilege

review is a judicial function that cannot be delegated to the executive branch). As noted above,

the parties are engaged in discussions about the implications of In Re: Search Warrant as it

relates to this case.

        Ultimately, the volume of and legal issues involved in the discovery production show that

this case is atypical in its complexity and the time required for adequate preparation. Therefore,

the requested continuance and extension of pretrial motions is supported by §§ 3161(a)(7)(B)(ii)

and (iv), as well as the Fifth and Sixth Amendments, which generally require adequate time for

defense counsel to be reasonably prepared, cf., e.g., United States v. LaRouche, 896 F.2d 815,

823 (4th Cir. 1990) (“The due process analysis, in [the context of a motion to continue to allow

for adequate defense preparation], merges into the sixth amendment analysis[.]”) (recognizing

potential for, but rejecting, claim that failure to grant continuance violated defendant’s Fifth and

Sixth Amendment rights by depriving the defendant of time needed to prepare adequately).

        Family circumstances of undersigned counsel also support the requested continuance.

Undersigned counsel’s wife is pregnant and due to give birth on October 10, 2021. With 18

U.S.C. § 3161(a)(7)(B)(iv), Congress contemplated courts granting continuances to avoid

“deny[ing] the defendant or the Government continuity of counsel.” The Sixth Amendment also

protects the right to counsel of choice. E.g., United States v. Gonzalez-Lopez, 548 U.S. 140, 152

(2006) (recognizing balance between structural right to counsel of choice and the power of the

court to make decisions regarding scheduling that implicate counsel of choice issues).

        The proposal herein of having pretrial motions due in August and the trial in December is

made to ensure that the case moves forward apace, but also that undersigned counsel’s ability to




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prepare for and conduct the trial is not upset by undersigned counsel’s family circumstances.

Undersigned counsel thus respectfully submits that the interest in “continuity of counsel” and

counsel of choice support approving this proposed schedule.

       Finally, Mr. Reifler has explicitly provided his consent to this requested agreement via

the signed Statement of Consent provided at Attachment 1, and the government also has no

objection to this requested proposed schedule.

                                         CONCLUSION

       For the foregoing reasons, undersigned counsel respectfully submits that the requested

scheduling order (pretrial motions being due August 6, 2021, and trial being held December 6,

2021) is supported under 18 U.S.C. § 3161, as well as the Fifth and Sixth Amendments, and that

the ends of justice served by granting this continuance in ensuring adequate preparation and

continuity of counsel in light of the unusual complexities of this case and the family

circumstances of undersigned counsel outweigh the interest of the public and the defendant in the

more prompt resolution of this matter.

       Mr. Reifler therefore requests that the Court grant this motion and extend the pretrial

motions deadline to August 6, 2021 and continue the trial of this matter to December 6, 2021.

       Respectfully submitted, this the 12th day of April, 2021.

                                                    CHESHIRE PARKER SCHNEIDER, PLLC

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                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was served on the following by the CM/ECF
system for the Middle District of North Carolina:

       Meredith C. Ruggles
       Meredith.Ruggles@usdoj.gov

       This the 12th day of April, 2021.



                                                  /s/ Elliot S. Abrams
                                                  Elliot S. Abrams
                                                  CHESHIRE PARKER SCHNEIDER, PLLC




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